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 8                            UNITED STATES DISTRICT COURT

 9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                          February 201 7 Grand J.i,? f'            r'll Q Q'",! '')·. f.'_4'
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11   UNITED STATES OF AMERICA,            CR No. 1 7-                     .             <JI "" ;,      ·- -


12              Plaintiff,                     I N D I C T M E N T

13              v.                             [21 U.S.C. § 846: Conspiracy to
                                               Distribute Heroin; 21 U.S.C.
14   DANIEL EDWARD NERSOYAN,                   §§ 841 (a) (1), (b) (1) (C):
       aka -"Dano," and                        Distribution of Heroin; 18 U.S.C.
15   ARMEN BERBERYAN,                          § 922 (g) (1): Felon in Possession
                                               of Firearms]
16              Defendants.

17

18         The Grand Jury charges:

19                                        COUNT ONE

20                                  [21   u.s.c.   §   846]

21   A.    OBJECT OF THE CONSPIRACY

22         Beginning on a date unknown, and continuing until on or about

23   Octobe+ 29, 2016, in Los Angeles County, within the Central District

24   of California, and elsewhere, defendants DANIEL EDWARD NERSOYAN, also

25   known as "Dano" ("NERSOYAN"), and ARMEN BERBERYAN ("BERBERYAN"), and

26   others known and unknown to the Grand Jury, conspired and agreed with

27   ~ach other to knowingly and intentionally distribute heroin, a

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 1   Schedule I narcotic drug controlled substance, in violation of ~itle

 2   21, United States Code, Sections 841 (a) (1) and (b) (1) (C).

 3   B.   THE MANNER AND MEANS OF THE CONSPIRACY

 4        The object of the conspiracy was to be accomplished, in

 5   substance, as follows:

 6        1.      Defendant BERBERYAN would obtain heroin.

 7        2.      Defendant NERSOYAN would broker and arrange heroin sales

 8   with potential customers.

 9        3.      Defendant BERBERYAN would deliver heroin to customers in

10   exchange for payment.

11   C.   OVERT ACTS

12        In furtherance of the conspiracy and to accomplish its object,

13   on or about the following dates, defendants NERSOYAN and BERBERYAN,

14   and others known and unknown to the Grand Jury, committed various

15   overt acts in Los Angeles County, within the Central District of

16   California, and elsewhere, including, but not limited to, the

17   following:

18        Overt Act No. 1:       On or about October 29, 2016, defendant

19   NERSOYAN met with a confidential informant ("CI") at NERSOYAN's

20   office in Los Angeles, California, to engage in a heroin transaction

21   in exchange for $2,200.

22        Overt Act No. 2:       On or about October 29, 2016, defendant

23   NERSOYAN told defendant BERBERYAN to order heroin for the CI, and

24   BERBERYAN called the supplier over the phone and ordered heroin.

25        Overt Act No. 3:       On or about October 29, 2016, defendant

26   BERBERYAN drove the CI to the supplier's location in North Hollywood,

27   California, and obtained heroin from the supplier, and then delivered

28   approximately 45.49 grams of heroin to the CI in exchange for $2,200.

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 1                                         COUNT TWO

 2                       [21 U.S.C.   §§    841(a) (1),   (b) (1) (C)]

 3        On or about October 29, 2016, in Los Angeles County, within the

 4   Central District of California, defendants DANIEL EDWARD NERSOYAN,

 5   also known as "Dano," and ARMEN BERBERYAN knowingly and intentionally

 6   distributed heroin, a Schedule I narcotic drug controlled substance.

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 1                                    COUNT THREE

 2                       [21 U.S.C. §§ 841(a) (1),    (b) (1) (C)]

 3        On or about November 17, 2016, in Los Angeles County, within the

 4   Central District of California, defendant DANIEL EDWARD NERSOYAN,

 5   also known as "Dano," knowingly and intentionally distributed heroin,

 6   a Schedule I narcotic drug controlled substance.

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 1                                     COUNT FOUR

 2                               [18 u.s.c.   §   922(g) (1)]

 3        On or about March 20, 2017, in Los Angeles County, within the
 4   Central District of California, defendant DANIEL EDWARD NERSOYAN,

 5   also known as "Dano" ("NERSOYAN"), knowingly possessed the following

 6   firearms, in and affecting interstate and foreign commerce:

 7        1.    an AA Arms Model AP9, 9mm semiautomatic pistol, bearing

 8   serial number 021347;

 9        2.    an Intratec Model ABlO, 9mm semiautomatic pistol, bearing

10   serial number A013934;

11        3.    an Intratec Model Tee 9, 9mm semiautomatic pistol, bearing

12   serial number 117116;
13        4.    a Sturm Ruger Model GPlOO,         .357 caliber revolver, bearing

14   serial number 177-11842; and
15        5.    a Smith   &   Wesson Model 39, 9mm semiautomatic pistol,

16   bearing serial number A216441.
17        Such possession occurred after defendant NERSOYAN had been

18   convicted of at least one of the following felony crimes, each

19   punishable by a term of imprisonment exceeding one year:

20        1.    Possession of a Controlled Substance, in violation of

21   California Health    &   Safety Code Section 11350(a), in the Superior

22   Court for the State of California, County of Los Angeles, case number

23   BA216382, on or about November 19, 2001;
24        2.    Possession of a Driver's License to Commit Forgery, in

25   violation of California Penal Code Section 470b, in the Superior
26   Court for the State of California, Coqnty of Los Angeles, case number

27   BA269273, on or about August 3, 2004; and

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  1        3.    Creating False Checks, in violation of California Penal

  2   Code Section 470(d), in the Superior Court for the State of

  3   California, County of Los Angeles, case number BA270406, on or about

  4   September 17, 2004.

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 1                                        COUNT FIVE

 2                                [18   u.s.c.   §   922 (g) (1) J
 3        On or about May 2, 2017, in Ventura County, within the Central

 4   District of California, defendant DANIEL EDWARD NERSOYAN, also known
 5   as "Dano" ("NERSOYAN"), knowingly possessed the following firearms,

 6   in and affecting interstate and foreign commerce:

 7        1.    an IMI Model Uzi A, 9mm semiautomatic pistol, bearing

 8   serial number SA09654;
 9        2.    a Heckler    &   Koch Model,HK93,       .223 caliber semiautomatic

10   rifle, bearing serial number A121966;
11        3.    a Norinco Model SKS, 7.62 X; 39mm semiautomatic rifle,

12   bearing serial number 7405218;

13        4.    a Winchester Model 62A,          .22 caliber pump action rifle,

14   bearing serial number 335342; and
15        5.    a Mossberg Model 500A, 12-gauge shotgun, bearing serial

16   number J966144.
17        Such possession occurred after defendant NERSOYAN had been

18   convicted of at least one of the following felony crimes, each

19   punishable by a term of imprisonment exceeding one year:
20        1.    Possession of a Controlled Substance,· in violation of

21   California Health   &   Safety Code Section 11350(a), in the Superior
22   Court for the State of California, County of Los Angeles, case number

23   BA216382, on or about November 19, 2001;
24        2.    Possession of a Driver's License to Commit Forgery, in

25   ~iolation of California Penal Code Section 470b, in the Superior
26   Court for the State of California, County of Los Angeles, case number

27   BA269273, on or about August 3, 2004; and

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                                                 7
      Case 2:17-cr-00325-GW Document 10 Filed 05/30/17 Page 8 of 8 Page ID #:33




 1        3.    Creating False Checks, in violation of California Penal

 2   Code Section 470(d), in the Superior Court for the State of

 3   California, County of Los Angeles, case number BA270406, on or about

 4   September 17, 2004.

 5

 6                                              A TRUE BILL

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 8                                                  15/
                                                Foreperson
 9

10   SANDRA R. BROWN·
     Acting United States Attorney
11

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13   LAWRENCE S. MIDDLETON
     Assistant United States Attorney
14   Chief, Criminal Division
15   JUSTIN R. RHOADES
     Assistant United States Attorney
16   Chief, Violent & Organized Crime
     Section
17
     JEFF MITCHELL
18   Assistant United States Attorney
     Deputy Chief, Violent & Organized
19   Crime Section
20   JENNIFER~. WEINHOLD
     Assistant United States Attorney
21   Violent & Organized Crime Section
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